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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                    )
ESTATE OF ASHLI BABBITT and         )
AARON BABBITT, individually and on  )
behalf of the ESTATE OF ASHLI       )
BABBITT,                            )
                    Plaintiffs,     )
                                    )
       v.                           )                 Case No. 1:24-cv-01701-ACR
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)

                                     SCHEDULING ORDER

          Upon consideration of the Parties’ Joint Meet and Confer Statement and the September

20, 2024, Status Conference, it is hereby,

          ORDERED that the following schedule and parameters shall govern proceedings in this

matter:

          A. Discovery Schedule

             1. Rule 26(a)(1)(A) Initial Disclosures shall be exchanged by October 4, 2024.

             2. Discovery shall commence on September 20, 2024, and end on February 9, 2026.

             3. The timing of expert disclosures shall be as follows:

                    i.   Plaintiffs’ Expert Disclosures and Reports due September 15, 2025;

                  ii.    Defendant’s Expert Disclosures and Reports / Defendant’s Rebuttal

                         Disclosures and Reports due October 20, 2025; and

                  iii.   Plaintiffs’ Rebuttal Disclosures and Reports due November 24, 2025.




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B. Discovery Limitations and Parameters

   4. Each party shall be permitted no more than:

         i.   40 Interrogatories;

        ii.   55 Requests for Production of Documents;

       iii.   75 Requests for Admission; and

        iv.   30 Fact Depositions.

   5. Each distinct subpart of a discovery request counts as an individual request.

   6. If a discovery limit is reached and with good cause shown, the parties may jointly

      move for an increase of that limit.

   7. All fact discovery requests, including third-party subpoenas, shall be propounded

      by December 11, 2025.

   8. The Parties shall produce documents in text-searchable Portable Data Format

      (“.pdf”) files using Optical Character Recognition (“OCR”) technology. If certain

      ESI (such as videos or audio files) are not reasonably producible as document-

      level searchable .pdfs, the Parties shall meet and confer prior to production to

      discuss the format of the production. The Parties will share their search

      methodology for responding to requests for production of ESI and will work

      together to identify mutually agreeable and appropriate search terms, custodians,

      and time frames.

C. Depositions

   9. If the Parties are unable to mutually agree on a deposition date, the party seeking

      the deposition may propose three non-consecutive dates for the deposition at least

      21 days in advance. If the non-proposing party fails to select one of those dates



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      for the deposition within five business days of receipt, then the proposing party

      may notice the deposition for one of those three dates.

   10. Before issuing a notice of deposition of any family member of Ms. Babbitt, any

      eye-witness officer, or other crucial witness, the issuing party must ensure that the

      Court is available on that date. Any party may designate an individual as crucial.

   11. Every lawyer, both in taking and defending depositions, must act professionally

      and respectfully towards the witness and opposing counsel. If counsel believes

      that opposing counsel is acting unprofessionally, he or she should call Chambers

      and the Court will, in its discretion, monitor the remainder of the deposition

      personally.

   12. If in reviewing any deposition transcript the Court finds that a lawyer has acted

      unprofessionally, it will enter a show cause order on why sanctions should not be

      entered against the lawyer whose conduct is in question.

   13. Counsel for each party has the right to be physically present for all depositions,

      regardless of whether counsel for the other party appears remotely. During

      remote depositions, all counsel and other participants (e.g., parties, attorneys,

      paralegals, etc.) in the same room as the testifying witness shall be visible on

      camera. Counsel and the witness are not to communicate through any other

      device or method while the witness is testifying.

D. Filing Deadlines

   14. Motions for leave to join any other parties shall be filed no later than November 1,

      2024. Motions for leave to amend the pleadings may be filed within 30 days after




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            the Court rules on Defendant’s Motion to Dismiss (ECF No. 30) Counts III, IV,

            and V.

         15. Plaintiffs will file a response to the Motion to Dismiss no later than October 4,

            2024. Defendant will file a reply on October 25, 2024.

         16. Plaintiffs anticipate filing a motion for jurisdictional discovery on Counts III, IV,

            and V in connection with their opposition to the motion to dismiss, which will be

            filed on October 4, 2024. Defendant shall file its response to the motion no later

            than October 25, 2024. Plaintiffs shall file a reply no later than November 8,

            2024.

         17. The deadlines for filing a Motion for Summary Judgment are February 23, 2026

            for the opening brief, March 23, 2026 for the opposition, and April 13, 2026 for

            the reply.

     E. Pretrial and Trial

         18. Trial in this matter is set for July 20, 2026. The trial date will not move absent

            extraordinary circumstances, i.e. the legal equivalent of Armageddon.

         19. The final pretrial conference under LCvR 16.5 is set for June 15, 2026.

         20. Motions in limine shall be filed in accordance with the briefing schedule set forth

            in paragraph 14(a) of the Court’s Standing Order.



     It is so ORDERED.



Dated: September 25, 2024
                                                   The Honorable Ana C. Reyes
                                                   United States District Judge



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